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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                        ORDER

                                                                        03-CR-6142L

                       V.

JOSE ALBARRAN,



                              Defendant.
________________________________________________


       By order entered December 15, 2005, this Court affirmed the July 22, 2005 Decision and

Order of United States Magistrate Judge Jonathan W. Feldman disqualifying attorney John R.

Parrinello and members of the Parrinello law firm from representing Jose Albarran due to a conflict

of interest. Familiarity with these decisions and the Court’s prior decision on this subject of

November 16, 2005 are presumed.

       The day after I entered the December 15 Decision and Order, I received, via facsimile, a

letter/affidavit from members of the Parrinello firm that was apparently being prepared at the time

my December 15 order was received. That letter/affidavit responds to the affidavit submitted by the

Parrinello firm’s former client, Edmund Guadalupe.

       In the cover sheet attached to the facsimile of the Parrinello firm’s most recent affidavit, there

is a request for “reargument.” I consider the application as a motion for reconsideration. The motion
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is denied. I have considered all the matters submitted to date, and I believe that the facts and the law

compel the disqualification of John Parrinello and the Parrinello law firm for the reasons set forth

in Magistrate Judge Feldman’s July 22, 2005 Decision and Order appealed from, as well as this

Court’s decisions of November 16, 2005 and December 15, 2005.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge


Dated: Rochester, New York
       December 20, 2005.




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